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 5
     Attorney for Defendant
 6   LITTANOVONE KEOPADUBSY
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   Case No. CR-S-13-078 MCE-3
                                        )
12                  Plaintiff,          )   STIPULATION TO MODIFY TERMS OF
                                        )   PRETRIAL RELEASE; ORDER
13        v.                            )
                                        )   Date: N/A
14                                      )   Time: N/A
                                        )   Judge: Hon. DALE A. DROZD
15   LITTANOVONE KEOPADUBSY             )
                                        )
16                  Defendants.
     __________________________
17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, undersigned hereto, that the terms of the
19
     defendant’s pretrial release be modified as follows:
20
          The release term that the defendant be on electronic monitoring is
21
     to be removed forthwith.
22
          PRETRIAL SERVICES HAS SUGGESTED THIS ACTION.
23
24
     DATED: June 6, 2013.             Respectfully submitted,
25
                                      MARK J. REICHEL, ESQ.
26
                                 /s/ MARK J. REICHEL
27                                    MARK J. REICHEL
28
              Case 2:13-cr-00078-DAD Document 25 Filed 06/07/13 Page 2 of 2


 1                                              Attorney for defendant
 2
 3                                              BENJAMIN WAGNER
                                                United States Attorney
 4
 5   DATED: June 6, 2013                        /s/MARK J. REICHEL for:
                                                PAUL HEMESETH
 6                                              Assistant U.S. Attorney
                                                Attorney for Plaintiff
 7
                                                ORDER
 8
            IT IS SO ORDERED.             All remaining terms and conditions of the
 9
     defendant’s release shall remain in full force and effect.
10
     DATED: June 6, 2013.
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